Case 1:04-cv-01338-.]DT-STA Document 5 Filed 06/22/05 Page 1 of 2 PagelD 13

 

 

United States District Court

WESTERN DISTRICT OF TENNESSEE
Eastem Division

UNITED sTATEs oF AMERICA JUDGMENT lN A C|V|L CASE

V.

JERRY WAYNE DICKEY CASE NUl\/IBER: 04-1338-T/An

Decision by Court. This action came to consideration before the Court. The issues
have been considered and a decision has been rendered

lT |S ORDERED AND ADJUDGED that in compliance With the order entered in
the above-styled matter on 06/21/05, the defendant's 28 U.S.C. § 2255 motion is
DENIED. The court DEN|ES a certificate of appealability . lt is further CERT|F|ED that,

pursuant to Fed. R. App. P. 24(a), any appeal by plaintiff is not taken in good faith, and
leave to appeal in forma pauperis is DEN|ED.

 

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ROBERT R. Di TROLIO

 

 

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This document entered on the docket sheet in compliance

With Ru|e 58 and/or 79(a) FRCP on gmi 'a?,§' 05 _

 

 

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 5 in
case 1:04-CV-01338 Was distributed by faX, mail, or direct printing on
June 23, 2005 to the parties listed.

 

Jerry Wayne Dickey
#16917-07

P.O. Box 2000
Millington, TN 38038

Honorable J ames Todd
US DISTRICT COURT

